       Case
MIED (Rev.       2:20-cv-10392-SJM-MJH
           5/05) Statement                                          ECF
                           of Disclosure of Corporate Affiliations and       No.
                                                                       Financial      3, PageID.37
                                                                                 Interest            Filed 02/14/20 Page 1 of 1

                                                   UNITED STATES DISTRICT COURT
                                                   EASTERN DISTRICT OF MICHIGAN

Display Technologies LLC
                      Plaintiff(s),                                           Case No.

v.                                                                            Judge

 Alpine Electronics America                                                   Magistrate Judge

                      Defendant(s).
                                                                      /

                                       STATEMENT OF DISCLOSURE
                             OF CORPORATE AFFILIATIONS AND FINANCIAL INTEREST

           Pursuant to E. D. Mich. LR 83.4, Display Technologies LLC
                                                                                           [Name of Party]

makes the following disclosure: (NOTE: A negative report, if appropriate, is required.)

1.         Is said corporate party a subsidiary or affiliate of a publicly owned corporation?
           Yes “                 No “

           If the answer is yes, list below the identity of the parent corporation or affiliate and the relationship
           between it and the named party.

           Parent Corporation/Affiliate Name:
           Relationship with Named Party:

2.         Is there a publicly owned corporation or its affiliate, not a party to the case, that has a substantial financial
           interest in the outcome of the litigation?

           Yes “                 No “
           If the answer is yes, list the identity of such corporation or affiliate and the nature of the financial interest.

           Parent Corporation/Affiliate Name:
           Nature of Financial Interest:


Date:
        2/14/2020                                                 /s/ Maxwell Goss
                                                                  Signature
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